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                               EXHIBIT 3
         Case 2:21-cv-10163-GAD-APP ECF No. 28-4, PageID.1105 Filed 02/19/21 Page 2 of 4

                                                                                             PRICE QUOTE


                                                                                                        Quote 21390
                                                                                   Quote Date: May 13, 2020
                                                                               Quote Expiration: May 30, 20210
                                                                                   Sales Rep: Detroit IT Sales


       Company:                                Ship To:                           Bill To:

       Detroit Axle                            Detroit Axle                       Detroit Axle
       2000 Eight Mile Rd                      2000 Eight Mile Rd                 2000 Eight Mile Rd
       Ferndale, MI 48220                      Ferndale, MI 48220                 Ferndale, MI 48220



                                        Item                        Discount         Price        Qty       Subtotal

                                                  HARDWARE (ONE TIME)

           Ubiquiti UniFi Pro 48 POE Gen 2                               0%      $                      4   $

           Ubiquiti UniFi Cloud Key Gen 2                                0%                             1

           Ubiquiti UniFi Cloud Key G2 Rack Mount                        0%                             1

           Ubiquiti UniFi Redundant Power System                         0%                             1

           Ubiquiti UniFi SmartPower Cable                               0%                             2

           3ft Cat6 Slim Patch Cable                                     0%                        192

           Lot of Misc Consumables                                       0%                             3
       Rack hardware
       Mounting Screws
       Velcro
       Labels

                                                                                                            $5,878.00

                                               IMPLEMENTATION (ONE TIME)

           Professional Services (After Hours)                            %          $              12      $

                                                                                                            $1,326.00

                                                                                             Discount           -$234.00


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                                                                                                                            PRICE QUOTE

                                                                                                                               Subtotal           $7,204.00

                                                                                                                                  Total         $7,204.00




     AGREED TO AND ACCEPTED:




                                  05/19/2020
     ___________________________ _____________________

     50% Due Upon Acceptance. This quote does not include shipping and tax. This quote is subject to the Terms and Conditions found on our website

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                      Signature Certificate
                 Document Ref.: 4LP7X-OKRAZ-9Z3MD-TAD8D

   Document signed by:

                    Mike Mccauley
                    E-mail:
                    mmccauley@detroitaxle.com
                    Signed via link

                    IP: 12.200.188.130     Date: 19 May 2020 15:31:57 UTC



                        Document completed by all parties on:
                            19 May 2020 15:31:57 UTC
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